Case 0:23-cv-61065-AHS Document 1 Entered on FLSD Docket 06/05/2023 Page 1 of 26




                         IN THE UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

   DONNA CROWE, individually and on behalf
   of all others similarly situated,       Case No. 0:23cv61065

                          Plaintiff,                CLASS ACTION COMPLAINT

           v.                                       JURY TRIAL DEMANDED

   MANAGED CARE OF NORTH AMERICA,
   INC., d/b/a MCNA DENTAL

                          Defendant.



                                  CLASS ACTION COMPLAINT

         Plaintiff Donna Crowe (“Plaintiff”), individually, and on behalf of all others similarly

  situated (collectively, “Class members”), by and through her attorneys, brings this Class Action

  Complaint against Defendant Managed Care of North America, Inc., d/b/a MCNA Dental

  (“MCNA Dental”), and complains and alleges upon personal knowledge as to herself and upon

  information and belief as to all other matters.

                                          INTRODUCTION

         1.      Plaintiff brings this class action against MCNA Dental for its failure to secure and

  safeguard her and approximately 8,923,662 other individuals’ personally identifying information

  (“PII”) and personal health information (“PHI”), including names, dates of birth, addresses,

  telephone numbers, emails, Social Security numbers, driver’s license or government-issued

  identification numbers, health insurance information, Medicaid/Medicare ID numbers, and

  information regarding dental and orthodontic care.

         2.      MCNA Dental is a dental insurance benefits provider for Medicare, Medicaid, and

  Children’s Health Insurance Program organizations. It is headquartered in Miramar, Florida.
Case 0:23-cv-61065-AHS Document 1 Entered on FLSD Docket 06/05/2023 Page 2 of 26




         3.      MCNA Dental collected and retained the PII/PHI of its customers, including

  Plaintiff and Class members, in connection with providing dental insurance, dental care, or related

  services or products (collectively, “Dental Services”). On March 6, 2023, MCNA Dental learned

  that an unauthorized person or persons had accessed MCNA Dental’s network systems.

  Subsequent investigation revealed that the unauthorized person(s) had access to MCNA Dental’s

  computer system between February 26, 2023 and March 7, 2023, during which time the

  unauthorized person accessed and stole the sensitive PII/PHI of Plaintiff and Class members (the

  “Data Breach”).

         4.      MCNA Dental owed a duty to Plaintiff and Class members to implement and

  maintain reasonable and adequate security measures to secure, protect, and safeguard their PII/PHI

  against unauthorized access and disclosure. MCNA Dental breached that duty by, among other

  things, failing to implement and maintain reasonable security procedures and practices to protect

  its customers’ PII/PHI from unauthorized access and disclosure.

         5.      As a result of MCNA Dental’s inadequate security and breach of its duties and

  obligations, the Data Breach occurred, and Plaintiff’s and Class members’ PII/PHI was accessed

  and stolen. This action seeks to remedy these failings and their consequences. Plaintiff brings this

  action on behalf of herself and all persons whose PII/PHI was exposed as a result of the Data

  Breach.

         6.      Plaintiff, on behalf of herself and all other Class members, asserts claims for

  negligence, breach of fiduciary duty, breach of implied contract, and unjust enrichment, and seeks

  declaratory relief, injunctive relief, monetary damages, statutory damages, punitive damages,

  equitable relief, and all other relief authorized by law.




                                                   -2-
Case 0:23-cv-61065-AHS Document 1 Entered on FLSD Docket 06/05/2023 Page 3 of 26




                                               PARTIES

  Plaintiff Donna Crowe

         7.        Plaintiff Donna Crowe is a citizen of Florida.

         8.        Plaintiff receives Dental Services from MCNA Dental. As a condition of receiving

  Dental Services, Plaintiff was required to provide her PII/PHI to MCNA Dental.

         9.        Plaintiff received Dental Services from MCNA Dental and entrusted MCNA Dental

  with her PII/PHI; prior to the Data Breach. MCNA Dental retained and stored Plaintiff’s PII/PHI

  on its computer systems, including the systems affected by the Data Breach.

         10.       Plaintiff’s PII/PHI was accessed, disclosed to, and stolen by an unauthorized person

  or persons during and as part of the Data Breach.

         11.       Based on representations made by MCNA Dental, Plaintiff believed MCNA Dental

  had implemented and maintained reasonable security and practices to protect her PII/PHI. With

  this belief in mind, Plaintiff provided her PII/PHI to MCNA Dental in connection with receiving

  Dental Services.

         12.       Plaintiff takes great care to protect her PII/PHI, including her Medicare

  information. Had Plaintiff known that MCNA Dental does not adequately protect the PII/PHI in

  its possession, she would not have obtained services from MCNA Dental or agreed to provide

  them with her PII/PHI.

         13.       As a direct result of the Data Breach, Plaintiff Crowe has suffered injury and

  damages including, inter alia, a substantial and imminent risk of identity theft and medical identity

  theft; the wrongful disclosure and loss of confidentiality of her highly sensitive PII/PHI;

  deprivation of the value of her PII/PHI; and overpayment for services that did not include adequate

  data security.




                                                   -3-
Case 0:23-cv-61065-AHS Document 1 Entered on FLSD Docket 06/05/2023 Page 4 of 26




  Defendant MCNA Dental

            14.   Defendant MCNA Dental is a Florida corporation with its principal place of

  business in Miramar, Florida. MCNA Dental’s headquarters are located at 3100 SW 145th Avenue,

  Suite #200, Miramar, Florida 33027.

                                    JURISDICTION AND VENUE

            15.   The Court has subject matter jurisdiction over Plaintiff’s claims under 28 U.S.C.

  §1332(d)(2), because: (a) there are 100 or more Class members; (b) at least one Class member is

  a citizen of a state that is diverse from MCNA Dental; and (c) the matter in controversy exceeds

  $5,000,000, exclusive of interest and costs.

            16.   This Court has personal jurisdiction over MCNA Dental because MCNA Dental is

  a Florida corporation and maintains its principal place of business in Florida.

            17.   Venue is proper in this District pursuant to 28 U.S.C. §1391(b)(2) because MCNA

  Dental’s principal place of business is in this District and a significant amount of the events leading

  to Plaintiff’s causes of action occurred in this District.

                                     FACTUAL ALLEGATIONS

                                       Overview of MCNA Dental

            18.   MCNA Dental “is a leading dental benefits manager committed to providing high

  quality services to state agencies and managed care organizations for their Medicaid, Children’s

  Health Insurance Program (CHIP), and Medicare members.”1 “MCNA also offers dental plans for

  private employers, individuals, and families.”2

            19.   “MCNA Dental is the largest dental insurer in the nation for government-sponsored


  1
    Company Overview, MCNA DENTAL, https://www.mcna.net/en/company-overview (last
  accessed June 1, 2023).
  2
      Id.


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Case 0:23-cv-61065-AHS Document 1 Entered on FLSD Docket 06/05/2023 Page 5 of 26




  Medicaid and CHIP programs” and has “over 5 million members across 8 states.”3

             20.   MCNA Dental’s website contains a Notice of Privacy Practices.4 On that webpage

  MCNA Dental states, “One of our strengths is our ability to administer dental plans in an effective

  and innovative manner while safeguarding our members’ protected health information.”5 MCNA

  Dental also claims it is “committed to complying with the requirements and standards of the Health

  Insurance Portability and Accountability Act of 1996 (HIPAA).”6

             21.   MCNA Dental states it must follow the privacy practices in its Notice of Privacy

  Practices.7

             22.   MCNA Dental claims to protect personal health information, including names,

  addresses, telephone numbers, and Social Security numbers, “in all formats including electronic,

  written and oral information.”8

             23.   MCNA Dental acknowledges that “[t]he law says MCNA has to keep your health

  information private.”9 It further acknowledges that “[i]n keeping with federal and state laws and

  our own policy, we have a responsibility to protect the privacy of your information” and that it is

  “required by law to maintain the privacy and security of your protected health information.”10

             24.   MCNA Dental claims it “will not use or share your information other than as


  3
      Home, MCNA DENTAL, https://www.mcna.net/en/home (last accessed June 1, 2023).
  4
   Our Privacy Practices, MCNA DENTAL, https://www.mcna.net/en/privacy (last accessed June 1,
  2023). The Notice explicitly states it “applies to all MCNA dental programs that are administered
  by” MCNA Dental. Id.
  5
      Id.
  6
      Id.
  7
      Id.
  8
      Id.
  9
      Id.
  10
       Id.


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Case 0:23-cv-61065-AHS Document 1 Entered on FLSD Docket 06/05/2023 Page 6 of 26




  described [in the Notice of Privacy Practices] unless you tell us we can in writing.”11 The Notice

  of Privacy Practices lists several ways that MCNA Dental may use its customers’ information,

  including, inter alia, for research, to comply with the law, and to address workers’ compensation

  claims.12

             25.   MCNA Dental promises to “let you know promptly if a breach occurs that may

  have compromised the privacy or security of your information.”13

             26.   Plaintiff and Class members are, or were, persons who receive Dental Services from

  MCNA Dental and who entrusted MCNA Dental with their PII/PHI

                                           The Data Breach

             27.   According to the Notice of Data Breach MCNA Dental posted online, “On March

  6, 2023, MCNA became aware of certain activity in our computer system that happened without

  our permission.”14 MCNA Dental determined that an “unauthorized third party was able to access

  certain systems and remove copies of some personal information between February 26, 2023 and

  March 7, 2023.”15

             28.   MCNA Dental’s investigation of the Data Breach revealed some of its network

  systems were “infected with malicious code.”16 MCNA Dental admitted “a criminal was able to see



  11
       Id.
  12
       Id.
  13
       Id.
  14
     Notice of Data Breach, MCNA DENTAL (May 26, 2023), https://response.idx.us/MCNA-
  Information/.
  15
            Notice      Letter,       MCNA        DENTAL        (May        26,       2023),
  https://apps.web.maine.gov/online/aeviewer/ME/40/895b95c8-abc8-41f1-8c3f-
  b0415575de56.shtml (under “Notification and Protection Services” heading, click link titled
  “MCNA - ME Individual Notice Letters.pdf”).
  16
       See id.


                                                  -6-
Case 0:23-cv-61065-AHS Document 1 Entered on FLSD Docket 06/05/2023 Page 7 of 26




  and take copies of some information in our computer system between February 26, 2023 and March

  7, 2023.”17

            29.    The information accessed, disclosed, and stolen in the Data Breach includes: “(1)

  demographic information to identify and contact [Class members], such as full name, date of birth,

  address, telephone and email; (2) Social Security number; (3) driver’s license number or

  government-issued identification number; (4) health insurance information, such as name of

  plan/insurer/government payor, member/Medicaid/Medicare ID number, plan and/or group

  number; and (5) information regarding dental/orthodontic care.”18 MCNA Dental also states the

  information includes “[c]are for teeth or braces (visits, dentist name, doctor name, past care, x-

  rays/photos, medicines, and treatment)” and “[b]ills and insurance claims” information.19

                          MCNA Dental Knew that Criminals Target PII/PHI

            30.    At all relevant times, MCNA Dental knew, or should have known, that the PII/PHI

  that it collected and stored was a target for malicious actors. Indeed, MCNA Dental states in its

  Privacy Policy that it will notify its customers “promptly if a breach occurs that may have

  compromised the privacy or security of [their] information.”20

            31.    MCNA Dental knew or should have known of these risks. Despite such knowledge,

  MCNA Dental failed to implement and maintain reasonable and appropriate data privacy and

  security measures to protect Plaintiff’s and Class members’ PII/PHI from cyber-attacks that

  MCNA Dental should have anticipated and guarded against.




  17
       Notice of Data Breach, supra note 14.
  18
       Notice Letter, supra note 15.
  19
       Notice of Data Breach, supra note 14.
  20
       Our Privacy Practices, supra note 4.


                                                  -7-
Case 0:23-cv-61065-AHS Document 1 Entered on FLSD Docket 06/05/2023 Page 8 of 26




            32.   It is well known amongst companies that store sensitive PII that sensitive

  information – such as the SSNs and medical information stolen in the Data Breach – is valuable

  and frequently targeted by criminals. In a recent article, Business Insider noted that “[d]ata

  breaches are on the rise for all kinds of businesses, including retailers . . . . Many of them were

  caused by flaws in . . . systems either online or in stores.”21

            33.   Cyber criminals seek out PHI at a greater rate than other sources of personal

  information. In a 2023 report, the healthcare compliance company Protenus found that there were

  956 medical data breaches in 2022 with over 59 million patient records exposed.22 This is an

  increase from the 758 medical data breaches which exposed approximately 40 million records that

  Protenus compiled in 2020.23

            34.   PII/PHI is a valuable property right.24 The value of PII/PHI as a commodity is

  measurable.25 “Firms are now able to attain significant market valuations by employing business

  models predicated on the successful use of personal data within the existing legal and regulatory

  frameworks.”26 American companies are estimated to have spent over $19 billion on acquiring


  21
     Dennis Green, Mary Hanbury & Aine Cain, If you bought anything from these 19 companies
  recently, your data may have been stolen, BUS. INSIDER (Nov. 19, 2019, 11:05 A.M.),
  https://www.businessinsider.com/data-breaches-retailers-consumer-companies-2019-1.
  22
    See PROTENUS, 2023 Breach Barometer, PROTENUS.COM, https://www.protenus.com/breach-
  barometer-report (last accessed June 2, 2023).
  23
       See id.
  24
     See Marc van Lieshout, The Value of Personal Data, 457 INT’L FED’N FOR INFO. PROCESSING
  26 (May 2015) (“The value of [personal] information is well understood by marketers who try to
  collect as much data about personal conducts and preferences as possible. . . . “),
  https://www.researchgate.net/publication/283668023_The_Value_of_Personal_Data.
  25
   See Robert Lowes, Stolen EHR [Electronic Health Record] Charts Sell for $50 Each on Black
  Market, MEDSCAPE.COM (April 28, 2014), http://www.medscape.com/viewarticle/824192.
  26
    OECD, Exploring the Economics of Personal Data: A Survey of Methodologies for Measuring
  Monetary Value, OECD ILIBRARY (Apr. 2, 2013), https://www.oecd-ilibrary.org/science-and-
  technology/exploring-the-economics-of-personal-data_5k486qtxldmq-en.


                                                   -8-
Case 0:23-cv-61065-AHS Document 1 Entered on FLSD Docket 06/05/2023 Page 9 of 26




  personal data of consumers in 2018.27 It is so valuable to identity thieves that once PII/PHI has

  been disclosed, criminals often trade it on the “cyber black-market,” or the “dark web,” for many

  years.

             35.   As a result of the real and significant value of this material, identity thieves and

  other cyber criminals have openly posted credit card numbers, SSNs, PII/PHI, and other sensitive

  information directly on various Internet websites making the information publicly available. This

  information from various breaches, including the information exposed in the Data Breach, can be

  readily aggregated and become more valuable to thieves and more damaging to victims.

             36.   PHI is particularly valuable and has been referred to as a “treasure trove for

  criminals.”28 A cybercriminal who steals a person’s PHI can end up with as many as “seven to ten

  personal identifying characteristics of an individual.”29

             37.   All-inclusive health insurance dossiers containing sensitive health insurance

  information, names, addresses, telephone numbers, email addresses, SSNs, and bank account

  information, complete with account and routing numbers, can fetch up to $1,200 to $1,300 each

  on the black market.30 According to a report released by the Federal Bureau of Investigation’s




  27
     See IAB Data Center of Excellence, U.S. Firms to Spend Nearly $19.2 Billion on Third-Party
  Audience Data and Data-Use Solutions in 2018, Up 17.5% from 2017, IAB.COM (Dec. 5, 2018),
  https://www.iab.com/news/2018-state-of-data-report/.
  28
    See Andrew Steager, What Happens to Stolen Healthcare Data, HEALTHTECH MAGAZINE (Oct.
  30, 2019), https://healthtechmagazine.net/article/2019/10/what-happens-stolen-healthcare-data-
  perfcon (“What Happens to Stolen Healthcare Data”) (quoting Tom Kellermann, Chief
  Cybersecurity Officer, Carbon Black, stating “Health information is a treasure trove for
  criminals.”).
  29
       Id.
  30
    See Adam Greenberg, Health insurance credentials fetch high prices in the online black market,
  SC MAG. (July 16, 2013), https://www.scmagazine.com/news/breach/health-insurance-
  credentials-fetch-high-prices-in-the-online-black-market.


                                                   -9-
Case 0:23-cv-61065-AHS Document 1 Entered on FLSD Docket 06/05/2023 Page 10 of 26




  Cyber Division, criminals can sell healthcare records for 50 times the price of a stolen SSN or

  credit card number.31

             38.   Criminals can use stolen PII/PHI to extort a financial payment by “leveraging

  details specific to a disease or terminal illness.”32 Quoting Carbon Black’s Chief Cybersecurity

  Officer, one recent article explained: “Traditional criminals understand the power of coercion and

  extortion . . . By having healthcare information – specifically, regarding a sexually transmitted

  disease or terminal illness – that information can be used to extort or coerce someone to do what

  you want them to do.”33

             39.   Consumers place a high value on the privacy of that data, as they should.

  Researchers shed light on how much consumers value their data privacy—and the amount is

  considerable. Indeed, studies confirm that “when privacy information is made more salient and

  accessible, some consumers are willing to pay a premium to purchase from privacy protective

  websites.”34

             40.   Given these facts, any company that transacts business with a consumer and then

  compromises the privacy of consumers’ PII/PHI has, thus, deprived that consumer of the full

  monetary value of the consumer’s transaction with the company.




  31
    See Federal Bureau of Investigation, Health Care Systems and Medical Devices at Risk for
  Increased Cyber Intrusions for Financial Gain (Apr. 8, 2014), https://www.illuminweb.com/wp-
  content/uploads/ill-mo-uploads/103/2418/health-systems-cyber-intrusions.pdf.
  32
       What Happens to Stolen Healthcare Data, supra note 28.
  33
       Id.
  34
     Janice Y. Tsai et al., The Effect of Online Privacy Information on Purchasing Behavior: An
  Experimental       Study,       22(2)      INFO.     SYS.      RSCH.      254     (June 2011)
  https://www.jstor.org/stable/23015560?seq=1.


                                                - 10 -
Case 0:23-cv-61065-AHS Document 1 Entered on FLSD Docket 06/05/2023 Page 11 of 26




                 Theft of PII/PHI Has Grave and Lasting Consequences for Victims

          41.     Theft of PII/PHI is serious. The Federal Trade Commission (“FTC”) warns

  consumers that identity thieves use PII/PHI to exhaust financial accounts, receive medical

  treatment, start new utility accounts, and incur charges and credit in a person’s name.35

          42.     Identity thieves use personal information for a variety of crimes, including credit

  card fraud, phone or utilities fraud, and bank/finance fraud.36 Research shows that personal

  information is valuable to identity thieves, and if they can get access to it, they will use it to, among

  other things: open a new credit card or loan; change a billing address so the victim no longer

  receives bills; open new utilities; obtain a mobile phone; open a bank account and write bad

  checks; use a debit card number to withdraw funds; obtain a new driver’s license or ID; use

  the victim’s information in the event of arrest or court action.

          43.     With access to an individual’s PII/PHI, criminals can do more than just empty a

  victim’s bank account – they can also commit all manner of fraud, including: obtaining a driver’s

  license or official identification card in the victim’s name but with the thief’s picture; using the

  victim’s name and SSN to obtain government benefits; or filing a fraudulent tax return using the




  35
    See Federal Trade Commission, What to Know About Identity Theft, FED. TRADE COMM’N
  CONSUMER INFO., https://www.consumer.ftc.gov/articles/what-know-about-identity-theft (last
  accessed June 1, 2023).
  36
     The FTC defines identity theft as “a fraud committed or attempted using the identifying
  information of another person without authority.” 12 C.F.R. §1022.3(h). The FTC describes
  “identifying information” as “any name or number that may be used, alone or in conjunction with
  any other information, to identify a specific person,” including, among other things, “[n]ame,
  social security number, date of birth, official State or government issued driver’s license or
  identification number, alien registration number, government passport number, employer or
  taxpayer identification number.” 12 C.F.R. §1022.3(g).


                                                   - 11 -
Case 0:23-cv-61065-AHS Document 1 Entered on FLSD Docket 06/05/2023 Page 12 of 26




  victim’s information. In addition, identity thieves may even give the victim’s personal information

  to police during an arrest.37

         44.     Identity theft is not an easy problem to solve. In a survey, the Identity Theft

  Resource Center found that most victims of identity crimes need more than a month to resolve

  issues stemming from identity theft and some need over a year.38

         45.     Theft of SSNs also creates a particularly alarming situation for victims because

  those numbers cannot easily be replaced. In order to obtain a new number, a breach victim has to

  demonstrate ongoing harm from misuse of their SSN, and a new SSN will not be provided until

  after the harm has already been suffered by the victim.

         46.     Due to the highly sensitive nature of SSNs, theft of SSNs in combination with other

  PII (e.g., name, address, date of birth) is akin to having a master key to the gates of fraudulent

  activity. TIME Magazine quotes data security researcher Tom Stickley, who is employed by

  companies to find flaws in their computer systems, as stating, “If I have your name and your Social

  Security number and you don’t have a credit freeze yet, you’re easy pickings.”39

         47.     Theft of PII is even more serious when it includes theft of PHI. Data breaches

  involving medical information “typically leave[] a trail of falsified information in medical records




  37
     See Federal Trade Commission, Warning Signs of Identity Theft, IDENTITYTHEFT.GOV
  https://www.identitytheft.gov/Warning-Signs-of-Identity-Theft (last accessed June 1, 2023).
  38
    See Identity Theft Resource Center, 2021 Consumer Aftermath Report, IDENTITY THEFT RES.
  CTR. (2021), https://www.idtheftcenter.org/identity-theft-aftermath-study/ (last accessed June 1,
  2022).
  39
    Patrick Lucas Austin, ‘It Is Absurd.’ Data Breaches Show it’s Time to Rethink How We Use
  Social Security Numbers, Experts Say, TIME (Aug. 5, 2019), https://time.com/5643643/capital-
  one-equifax-data-breach-social-security/.


                                                 - 12 -
Case 0:23-cv-61065-AHS Document 1 Entered on FLSD Docket 06/05/2023 Page 13 of 26




  that can plague victims’ medical and financial lives for years.”40 It “is also more difficult to detect,

  taking almost twice as long as normal identity theft.”41 In warning consumers on the dangers of

  medical identity theft, the FTC states that an identity thief may use PII/PHI “to see a doctor, get

  prescription drugs, buy medical devices, submit claims with your insurance provider, or get other

  medical care.” 42 The FTC also warns, “If the thief’s health information is mixed with yours it

  could affect the medical care you’re able to get or the health insurance benefits you’re able to

  use.”43

             48.   A report published by the World Privacy Forum and presented at the U.S. FTC

  Workshop on Informational Injury describes what medical identity theft victims may experience:

              •    Changes to their health care records, most often the addition of falsified
                   information, through improper billing activity or activity by imposters. These
                   changes can affect the healthcare a person receives if the errors are not caught and
                   corrected.

              •    Significant bills for medical goods and services neither sought nor received.

              •    Issues with insurance, co-pays, and insurance caps.

              •    Long-term credit problems based on problems with debt collectors reporting debt
                   due to identity theft.

              •    Serious life consequences resulting from the crime; for example, victims have been
                   falsely accused of being drug users based on falsified entries to their medical files;
                   victims have had their children removed from them due to medical activities of the
                   imposter; victims have been denied jobs due to incorrect information placed in their
                   health files due to the crime.

  40
    Pam Dixon and John Emerson, The Geography of Medical Identity Theft, FTC.GOV (Dec. 12,
  2017),                                            http://www.worldprivacyforum.org/wp-
  content/uploads/2017/12/WPF_Geography_of_Medical_Identity_Theft_fs.pdf.
  41
    See Federal Bureau of Investigation, Health Care Systems and Medical Devices at Risk . . . ,
  supra note 31.
  42
     See What to Know About Medical Identity Theft, FED. TRADE COMM’N CONSUMER INFO.,
  https://www.consumer.ftc.gov/articles/what-know-about-medical-identity-theft (last accessed
  June 1, 2023).
  43
       Id.


                                                   - 13 -
Case 0:23-cv-61065-AHS Document 1 Entered on FLSD Docket 06/05/2023 Page 14 of 26




             •    As a result of improper and/or fraudulent medical debt reporting, victims may not
                  qualify for mortgage or other loans and may experience other financial impacts.

             •    Phantom medical debt collection based on medical billing or other identity
                  information.

             •    Sales of medical debt arising from identity theft can perpetuate a victim’s debt
                  collection and credit problems, through no fault of their own.44

           49.    There may also be a time lag between when sensitive personal information is stolen,

  when it is used, and when a person discovers it has been used. For example, on average it takes

  approximately three months for consumers to discover their identity has been stolen and used, but

  it takes some individuals up to three years to learn that information.45

           50.    It is within this context that Plaintiff and Class members must now live with the

  knowledge that their PII/PHI is forever in cyberspace and was taken by and in the possession of

  people willing to use the information for any number of improper purposes and scams, including

  making the information available for sale on the black-market.

                    Damages Sustained by Plaintiff and the Other Class Members

           51.    Plaintiff and Class members have suffered and will suffer injury, including, but not

  limited to: (a) a substantially increased and imminent risk of identity theft; (b) the compromise,

  publication, and theft of their PII/PHI; (c) out-of-pocket expenses associated with the prevention,

  detection, and recovery from unauthorized use of their PII/PHI; (d) lost opportunity costs

  associated with efforts attempting to mitigate the actual and future consequences of the Data

  Breach; (e) the continued risk to their PII/PHI which remains in MCNA Dental’s possession; (f)



  44
       See Pam Dixon and John Emerson, supra note 40.
  45
     John W. Coffey, Difficulties in Determining Data Breach Impacts, 17 J. OF SYSTEMICS,
  CYBERNETICS                 AND                INFORMATICS         9            (2019),
  http://www.iiisci.org/journal/pdv/sci/pdfs/IP069LL19.pdf.


                                                 - 14 -
Case 0:23-cv-61065-AHS Document 1 Entered on FLSD Docket 06/05/2023 Page 15 of 26




  future costs in terms of time, effort, and money that will be required to prevent, detect, and repair

  the impact of the PII/PHI compromised as a result of the Data Breach; and (g) overpayment for

  the services that were received without adequate data security.

                                       CLASS ALLEGATIONS

         52.     This action is brought and may be properly maintained as a class action pursuant to

  Rule 23 of the Federal Rules of Civil Procedure.

         53.     Pursuant to Federal Rule of Civil Procedure 23(b)(1), (b)(2), (b)(3), and (c)(4),

  Plaintiff brings this action on behalf of herself and all members of the following Nationwide Class

  (the “Class”) of similarly situated persons:

         All persons whose personally identifiable information or personal health
         information was compromised in the Data Breach by unauthorized persons,
         including all persons whose information was stored on MCNA Dental’s computer
         systems that were affected by the Data Breach between February 26, 2023 and
         March 7, 2023.

         54.     Excluded from the Classes are Managed Care of North America, Inc., d/b/a MCNA

  Dental, and its affiliates, parents, subsidiaries, successors, officers, legal representatives, assigns,

  agents, directors, and any entity in which MCNA Dental has a controlling interest. Also excluded

  from the Class are any judicial officers presiding over this matter, members of their immediate

  family, members of their judicial staff, and any judge sitting in the presiding court system who

  may hear an appeal of any judgment entered..

         55.     Certification of Plaintiff’s claims for class-wide treatment is appropriate because

  Plaintiff can prove the elements of her claims on a class-wide basis using the same evidence as

  would be used to prove those elements in individual actions alleging the same claims.

         56.     The members of the Class are so numerous that joinder of each of the Class members

  in a single proceeding would be impracticable. MCNA Dental reported to the Office of the Maine




                                                   - 15 -
Case 0:23-cv-61065-AHS Document 1 Entered on FLSD Docket 06/05/2023 Page 16 of 26




  Attorney General that approximately 8,923,662 persons’ information was exposed in the Data

  Breach.46

         57.     Common questions of law and fact exist as to all Class members and predominate

  over any potential questions affecting only individual Class members, making certification

  appropriate under Rule 23(b)(3). Such common questions of law or fact include, inter alia:

                 a. whether MCNA Dental had a duty to implement and maintain reasonable
                    security procedures and practices to protect and secure Plaintiff’s and Class
                    members’ PII/PHI from unauthorized access and disclosure;

                 b. whether MCNA Dental had a duty not to disclose the PII/PHI of Plaintiff and
                    Class members to unauthorized third parties;

                 c. whether MCNA Dental failed to exercise reasonable care to secure and
                    safeguard Plaintiff’s and Class members’ PII/PHI;

                 d. whether an implied contract existed between Class members and MCNA
                    Dental, providing that MCNA Dental would implement and maintain
                    reasonable security measures to protect and secure Class members’ PII/PHI
                    from unauthorized access and disclosure;

                 e. whether MCNA Dental engaged in unfair, unlawful, or deceptive practices by
                    failing to safeguard the PII/PHI of Plaintiff and Class members;

                 f. whether MCNA Dental breached its duty to protect Plaintiff’s and Class
                    members’ PII/PHI; and

                 g. whether Plaintiff and Class members are entitled to damages, and the measure
                    of such damages and relief.

         58.     Such issues are also appropriate for certification under Fed. R. Civ. P. 23(c)(4)

  because the claims present particular, common issues, the resolution of which would materially

  advance the resolution of this matter and the parties’ interests therein.




  46
      See Managed Care of North America Data Breach Notification, ME. ATT’Y GEN.,
  https://apps.web.maine.gov/online/aeviewer/ME/40/895b95c8-abc8-41f1-8c3f-
  b0415575de56.shtml (last accessed June 1, 2023).


                                                  - 16 -
Case 0:23-cv-61065-AHS Document 1 Entered on FLSD Docket 06/05/2023 Page 17 of 26




            59.   MCNA Dental engaged in a common course of conduct giving rise to the legal rights

  sought to be enforced by Plaintiff, on behalf of herself and all other Class members. Individual

  questions, if any, pale in comparison, in both quantity and quality, to the numerous common

  questions that dominate this action.

            60.   Plaintiff’s claims are typical of the claims of the Class. Plaintiff, like all proposed

  members of the Class, had her PII/PHI compromised in the Data Breach. Plaintiff and Class

  members were injured by the same wrongful acts, practices, and omissions committed by MCNA

  Dental, as described herein. Plaintiff’s claims therefore arise from the same practices or course of

  conduct that give rise to the claims of all Class members.

            61.   Plaintiff will fairly and adequately protect the interests of the Class members.

  Plaintiff is an adequate representative of the Class in that she has no interests adverse to, or that

  conflict with, the Class she seeks to represent. Plaintiff has retained counsel with substantial

  experience and success in the prosecution of complex consumer protection class actions of this

  nature.

            62.   A class action is superior to any other available means for the fair and efficient

  adjudication of this controversy, and no unusual difficulties are likely to be encountered in the

  management of this class action. The damages and other financial detriment suffered by Plaintiff

  and Class members are relatively small compared to the burden and expense that would be required

  to individually litigate their claims against MCNA Dental, so it would be impracticable for Class

  members to individually seek redress from MCNA Dental’s wrongful conduct. Even if Class

  members could afford individual litigation, the court system could not. Individualized litigation

  creates a potential for inconsistent or contradictory judgments, and increases the delay and expense

  to all parties and the court system. By contrast, the class action device presents far fewer




                                                  - 17 -
Case 0:23-cv-61065-AHS Document 1 Entered on FLSD Docket 06/05/2023 Page 18 of 26




  management difficulties and provides the benefits of single adjudication, economy of scale, and

  comprehensive supervision by a single court.

         63.     Risk of Inconsistent or Varying Adjudications. Fed. R. Civ. P. 23(b)(1). As the

  proposed Class includes millions of patients, there is significant risk of inconsistent or varying

  adjudications with respect to individual Class members that would establish incompatible

  standards of conduct. For example, injunctive relief may be entered in multiple cases, but the

  ordered relief may vary, causing MCNA Dental to have to choose between differing means of

  upgrading its data security infrastructure and choosing the court order with which it will comply.

  Class action status is also warranted because prosecution of separate actions by the members of

  the Class would create a risk of adjudications with respect to individual members of the Class that,

  as a practical matter, would be dispositive of the interests of other members not parties to this

  action, or that would substantially impair or impede their ability to protect their interests.

         64.     Injunctive and Declaratory Relief. Fed. R. Civ. P. 23(b)(2). Class certification is

  also appropriate under Rule 23(b)(2). MCNA Dental, through its uniform conduct, acted or

  refused to act on grounds generally applicable to the Class as a whole, making injunctive and

  declaratory relief appropriate to the Class as a whole. Moreover, MCNA Dental continues to

  maintain its inadequate security practices, retains possession of Plaintiff’s and the Class members’

  PII and PHI, and has not been forced to change its practices or to relinquish PII and PHI by nature

  of other civil suits or government enforcement actions, thus making injunctive and declaratory

  relief a live issue and appropriate to the Class as a whole.




                                                  - 18 -
Case 0:23-cv-61065-AHS Document 1 Entered on FLSD Docket 06/05/2023 Page 19 of 26




                                      CAUSES OF ACTION

                                             COUNT I
                                           NEGLIGENCE

         65.     Plaintiff realleges and incorporates by reference paragraphs 1 through 64 as if

  fully set forth herein.

         66.     MCNA Dental owed a duty to Plaintiff and Class members to exercise reasonable

  care in safeguarding, securing, and protecting the PII/PHI in its possession, custody, or control.

         67.     MCNA Dental knew or should have known the risks of collecting and storing

  Plaintiff’s and all other Class members’ PII/PHI and the importance of maintaining and using

  secure systems. MCNA Dental knew or should have known of the many data breaches that

  have targeted companies that stored PII/PHI in recent years.

         68.     Given the nature of MCNA Dental’s businesses, the sensitivity and value of the

  PII/PHI it maintains, and the resources at its disposal, MCNA Dental should have identified

  and foreseen the vulnerabilities in its systems and prevented the unauthorized access and

  dissemination of Plaintiff’s and Class members’ PII/PHI.

         69.     MCNA Dental made explicit statements on its website that they are aware of the

  risk of potential data breaches, that it will follow privacy laws and regulations, and that it will

  use reasonable methods to protect the PII/PHI in its control.

         70.     MCNA Dental breached these duties by failing to exercise reasonable care in

  safeguarding and protecting Plaintiff’s and Class members’ PII/PHI by failing to design, adopt,

  implement, control, direct, oversee, manage, monitor, and audit appropriate data security

  processes, controls, policies, procedures, protocols, and software and hardware systems to

  safeguard and protect PII/PHI entrusted to it—including Plaintiff’s and Class members’ PII/PHI.




                                                 - 19 -
Case 0:23-cv-61065-AHS Document 1 Entered on FLSD Docket 06/05/2023 Page 20 of 26




         71.     Plaintiff and Class members had no ability to protect their PII/PHI that was, or

  remains, in MCNA Dental’s possession.

         72.     It was or should have been reasonably foreseeable to MCNA Dental that its failure

  to exercise reasonable care in safeguarding and protecting Plaintiff’s and Class members’ PII/PHI

  by failing to design, adopt, implement, control, direct, oversee, manage, monitor, and audit

  appropriate data security processes, controls, policies, procedures, protocols, and software and

  hardware systems would result in the unauthorized release, disclosure, and dissemination of

  Plaintiff’s and Class members’ PII/PHI to unauthorized individuals.

         73.     But for MCNA Dental’s negligent conduct or breach of the above-described duties

  owed to Plaintiff and Class members, their PII/PHI would not have been compromised. The

  PII/PHI of Plaintiff and the Class was accessed and stolen as the proximate result of MCNA

  Dental’s failure to exercise reasonable care in safeguarding, securing, and protecting such PII/PHI

  by, inter alia, adopting, implementing, and maintaining appropriate security measures.

         74.     As a result of MCNA Dental’s above-described wrongful actions, inaction, and

  want of ordinary care that directly and proximately caused the Data Breach, Plaintiff and Class

  members have suffered and will suffer injury, including, but not limited to: (a) a substantially

  increased and imminent risk of identity theft; (b) the compromise, publication, and theft of

  their PII/PHI; (c) out-of-pocket expenses associated with the prevention, detection, and

  recovery from unauthorized use of their PII/PHI; (d) lost opportunity costs associated with

  efforts attempting to mitigate the actual and future consequences of the Data Breach; (e) the

  continued risk to their PII/PHI which remains in MCNA Dental’s possession; (f) future costs

  in terms of time, effort, and money that will be required to prevent, detect, and repair the




                                                - 20 -
Case 0:23-cv-61065-AHS Document 1 Entered on FLSD Docket 06/05/2023 Page 21 of 26




  impact of the PII/PHI compromised as a result of the Data Breach; and (g) overpayment for

  the services that were received without adequate data security.

                                        COUNT II
                                BREACH OF FIDUCIARY DUTY

         75.     Plaintiff realleges and incorporates by reference paragraphs 1 through 64 as if

  fully set forth herein.

         76.     As a condition of obtaining Dental Services from MCNA Dental, Plaintiff and

  Class members gave MCNA Dental their PII/PHI in confidence, believing that MCNA Dental

  would protect that information. Plaintiff and Class members would not have provided MCNA

  Dental with this information had they known their information would not be adequately

  protected. MCNA Dental’s acceptance and storage of Plaintiff’s and Class members’ PII/PHI

  created a fiduciary relationship between MCNA Dental and Plaintiff and Class members. In

  light of this relationship, MCNA Dental must act primarily for the benefit of its customers,

  which includes safeguarding and protecting Plaintiff’s and Class members’ PII/PHI.

         77.     MCNA Dental has a fiduciary duty to act for the benefit of Plaintiff and Class

  members upon matters within the scope of their relationship. MCNA Dental breached that

  duty by failing to properly protect the integrity of the systems containing Plaintiff’s and Class

  members’ PII/PHI, failing to comply with the data security guidelines set forth by HIPAA,

  and otherwise failing to safeguard Plaintiff’s and Class members’ PII/PHI that it collected,

  retained, and stored.

         78.     As a direct and proximate result of MCNA Dental’s breach of its fiduciary

  duties, Plaintiff and Class members have suffered and will suffer injury, including, but not

  limited to: (a) a substantially increased and imminent risk of identity theft; (b) the compromise,

  publication, and theft of their PII/PHI; (c) out-of-pocket expenses associated with the prevention,



                                                - 21 -
Case 0:23-cv-61065-AHS Document 1 Entered on FLSD Docket 06/05/2023 Page 22 of 26




  detection, and recovery from unauthorized use of their PII/PHI; (d) lost opportunity costs

  associated with efforts attempting to mitigate the actual and future consequences of the Data

  Breach; (e) the continued risk to their PII/PHI which remains in MCNA Dental’s possession; (f)

  future costs in terms of time, effort, and money that will be required to prevent, detect, and repair

  the impact of the PII/PHI compromised as a result of the Data Breach; and (g) overpayment for

  the services that were received without adequate data security.

                                       COUNT III
                              BREACH OF IMPLIED CONTRACT

         79.     Plaintiff realleges and incorporates by reference paragraphs 1 through 64 as if

  fully set forth herein.

         80.     In connection with receiving health care services or employment, Plaintiff and

  all other Class members entered into implied contracts with MCNA Dental.

         81.     Pursuant to these implied contracts, Plaintiff and Class members benefited

  MCNA Dental by paying monies to MCNA Dental, and provided MCNA Dental with their

  PII/PHI. In exchange, MCNA Dental agreed to, among other things, and Plaintiff understood

  that MCNA Dental would: (a) provide Dental Services to Plaintiff and Class members; (b)

  take reasonable measures to protect the security and confidentiality of Plaintiff’s and Class

  members’ PII/PHI; (c) protect Plaintiff’s and Class members’ PII/PHI in compliance with

  federal and state laws and regulations and industry standards; and (d) implement and maintain

  reasonable measures to protect the security and confidentiality of Plaintiff’s and Class

  members’ PII/PHI.

         82.     The protection of PII/PHI was a material term of the implied contracts between

  Plaintiff and Class members, on the one hand, and MCNA Dental, on the other hand. Indeed,

  as set forth supra, MCNA Dental recognized the importance of data security and the privacy



                                                 - 22 -
Case 0:23-cv-61065-AHS Document 1 Entered on FLSD Docket 06/05/2023 Page 23 of 26




  of their customers’ PII/PHI. Had Plaintiff and Class members known that MCNA Dental

  would not adequately protect their PII/PHI, they would not have paid MCNA Dental for

  Dental Services.

         83.     Plaintiff and Class members performed their obligations under the implied

  contracts when they provided MCNA Dental with their PII/PHI and paid monies for products

  and services from MCNA Dental, expecting that their PII/PHI would be protected.

         84.     MCNA Dental breached its obligations under its implied contracts with

  Plaintiff and Class members by failing to implement and maintain reasonable security

  measures to protect and secure their PII/PHI, and in failing to implement and maintain

  adequate security protocols and procedures to protect Plaintiff’s and Class members’ PII/PHI

  in a manner that complies with applicable laws, regulations, and industry standards.

         85.     MCNA Dental’s breach of its obligations of the implied contracts with Plaintiff

  and Class members directly resulted in the Data Breach and the resulting injuries to Plaintiff

  and Class members.

         86.     Plaintiff and all other Class members were damaged by MCNA Dental’s breach

  of implied contracts because: (a) they paid monies (directly or indirectly) to MCNA Dental in

  exchange for data security protection they did not receive; (b) they now face a substantially

  increased and imminent risk of identity theft and medical identity theft—risks justifying

  expenditures for protective and remedial services for which they are entitled to compensation; (c)

  their PII/PHI was improperly disclosed to unauthorized individuals; (d) the confidentiality of their

  PII/PHI has been breached; (e) they were deprived of the value of their PII/PHI, for which there is

  a well-established national and international market; (f) they lost time and money incurred to

  mitigate and remediate the effects of the Data Breach, including the increased risks of medical




                                                 - 23 -
Case 0:23-cv-61065-AHS Document 1 Entered on FLSD Docket 06/05/2023 Page 24 of 26




  identity theft they face and will continue to face; and (g) they overpaid for the services that were

  received without adequate data security.

                                            COUNT IV
                                       UNJUST ENRICHMENT

         87.     Plaintiff realleges and incorporates by reference paragraphs 1 through 64 as if

  fully set forth herein.

         88.     This claim is pleaded in the alternative to the breach of implied contract claim.

         89.     In obtaining Dental Services from MCNA Dental, Plaintiff and Class members

  provided and entrusted their PII and PHI to MCNA Dental.

         90.     Plaintiff and Class members conferred a monetary benefit upon MCNA Dental in

  the form of monies paid for Dental Services with an implicit understanding that MCNA Dental

  would use some of that revenue to protect the PII/PHI it collects, retains, and stores.

         91.     MCNA Dental accepted or had knowledge of the benefits conferred upon it by

  Plaintiff and Class members. MCNA Dental benefitted from the receipt of Plaintiff’s and Class

  members’ PII/PHI, as this was used to facilitate billing and payment services, which enabled

  MCNA Dental to carry out its business.

         92.     As a result of MCNA Dental’s conduct, Plaintiff and Class members suffered

  actual damages in an amount equal to the difference in value between their payments made with

  reasonable data privacy and security practices and procedures that Plaintiff and Class members

  paid for and expected, and those payments without reasonable data privacy and security practices

  and procedures that they received.

         93.     MCNA Dental should not be permitted to retain the money belonging to Plaintiff

  and Class members because MCNA Dental failed to adequately implement the data privacy and




                                                 - 24 -
Case 0:23-cv-61065-AHS Document 1 Entered on FLSD Docket 06/05/2023 Page 25 of 26




  security procedures for itself that Plaintiff and Class members paid for and expected, and that were

  otherwise mandated by federal, state, and local laws and industry standards.

            94.    MCNA Dental should be compelled to provide for the benefit of Plaintiff and Class

  members all unlawful proceeds it received as a result of the conduct and Data Breach alleged

  herein.

                                       PRAYER FOR RELIEF

            Plaintiff, individually and on behalf of all other members of the Class, respectfully

  requests that the Court enter judgment in their favor and against MCNA Dental as follows:

            A.     Certifying the Class as requested herein, designating Plaintiff as Class

  representative, and appointing Plaintiff’s counsel as Class Counsel;

            B.     Awarding Plaintiff and the Class appropriate monetary relief, including actual

  damages, statutory damages, punitive damages, restitution, and disgorgement;

            C.     Awarding Plaintiff and the Class equitable, injunctive, and declaratory relief,

  as may be appropriate. Plaintiff, on behalf of herself and the Class, seeks appropriate

  injunctive relief designed to prevent MCNA Dental from experiencing another data breach by

  adopting and implementing best data security practices to safeguard PII/PHI and to provide

  or extend credit monitoring services and similar services to protect against all types of identity

  theft and medical identity theft;

            D.     Awarding Plaintiff and the Class pre-judgment and post-judgment interest to

  the maximum extent allowable;

            E.     Awarding Plaintiff and the Class reasonable attorneys’ fees, costs, and

  expenses, as allowable; and




                                                 - 25 -
Case 0:23-cv-61065-AHS Document 1 Entered on FLSD Docket 06/05/2023 Page 26 of 26




         F.      Awarding Plaintiff and the Class such other favorable relief as allowable under

  law.

                                     JURY TRIAL DEMANDED

              Plaintiff demands a trial by jury of all claims in this Class Action Complaint so triable.

   DATED: June 5, 2023                             ROBBINS GELLER RUDMAN
                                                    & DOWD LLP
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                                                  - 26 -
